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5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,            No. 2:17-cr-00187-GEB
9                  Plaintiff,
10        v.
11   SCATTAGALIA, ET AL.,
12                 Defendant.
13
     UNITED STATES OF AMERICA,            No. 2:17-cr-00200-KJM
14
                   Plaintiff,
15
          v.                              RELATED CASE ORDER
16
     AARON GILLIAM,
17               Defendant.
18

19              On November 1, 2017, the United States of America filed
20   a “Notice of Related Cases” in which it states:
21              Both of the above-referenced cases arise out
                of a series of on-going investigations by
22              Federal Bureau of Investigation (“FBI”),
                Department of Homeland Security, Homeland
23              Security     Investigations      (“HSI”),     and
                Department    of   Motor    Vehicles-Office    of
24              Internal Affairs (“DMV-OIA”). In particular,
                the named defendants in United States v.
25              Scattaglia, et al., 2:17-cr-00187 GEB are
                charged with conspiracy to commit bribery, to
26              commit   identity    fraud,    and    to   commit
                unauthorized    access   of   a    computer,   in
27              violation of 18 U.S.C. § 371. The information
                in Scattaglia, et al. alleges that both of
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1             the named defendants, who were former DMV
              employees in Southern California, conspired
2             with owners of truck schools and other
              “brokers”   to   obtain   California driver
3             licenses (“CDLs”) for the brokers’ clients
              without the applicants needing to take or
4             pass the requisite examinations. 1

5             Through the course of the FBI/HSI/DMV-OIA
              investigations    that    resulted      in    the
6             information   filed   in   United     States   v.
              Scattaglia,    et   al.,    2:17-cr-187      GEB,
7             defendant Aaron Gilliam in the case United
              States v. Gilliam, 2:17-cr-200 KJM, was
8             identified as a subject of the on-going
              investigations. In particular, after having
9             identified   Scattaglia   and    Terraciano    as
              allegedly   being    engaged    in     fraudulent
10            conduct, DMV-OIA began an analysis of the DMV
              records accessed by those defendants to
11            identify other fraudulent conduct. In the
              course of that analysis, DMV-OIA identified
12            defendant Gilliam in 2:17-cr-200 KJM as also
              accessing some of the same DMV records that
13            were accessed by defendants Kari Scattaglia
              and Lisa Terraciano in 2:17-cr-187 GEB.
14            Further, the investigation uncovered evidence
              that defendant Terraciano in Scattaglia, et
15            al., was allegedly accepting money from a
              broker to access the DMV’s database to alter
16            records to fraudulently show that applicants
              had passed the written tests when they had
17            not done so. The information in Gilliam,
              2:17-cr-200    KJM,   alleges     that    Gilliam
18            conspired with this same broker to access the
              DMV’s   database    to    alter     records    to
19            fraudulently show that applicants had passed
              the written tests when they had not done so.
20
              In sum, both Scattaglia, et al., 2:17-cr-187
21            GEB and Gilliam, 2:17-cr-200 KJM, each charge
              a similar conspiracy to commit bribery, to
22            commit   identity   fraud,  and   to   commit
              unauthorized access of a computer, and
23            include overlapping evidence as to at least
              one presently uncharged coconspirator, among
24            other items. Compare Scattaglia, Dckt. No. 1
              with Gilliam, Dckt. No. 1. 2 The United
25            States also believes that there may be some
              overlapping evidentiary questions as well as
26            the same or similar questions of law,
              including the calculation of the advisory
27            sentencing guidelines based on the same or
              similar issues unique to the DMV bribery
28            cases.
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1    Mot. to Relate 2:3-3:7, ECF No. 26 in 2:17cr-00187-GEB (footnotes

2    omitted).

3                Examination of the above-entitled actions reveals that

4    they are related within the meaning of Local Rule 123 (E.D. Cal.

5    2005). Under the regular practice of this court, related cases

6    are generally assigned to the judge to whom                 the first filed

7    action was assigned.      Therefore, case number 2:17-cr-00200-KJM is

8    reassigned to the undersigned judge for all further proceedings,

9    and the caption on the reassigned cases shall show the initials

10   “GEB.”     Further, any date currently set in the reassigned case is

11   VACATED.

12               The   Clerk   of   the   Court   shall   make    an   appropriate

13   adjustment in the assignment of criminal cases to compensate for

14   this reassignment.

15               Dated:   November 2, 2017

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